Case 1:16-cV-01256-LO-.]FA Document 10 Filed 02/15/17 Page 1 of 1 Page|D# 48

IN THE UNITED STATES DISTRIC'I` COURT
FOR Ti-[E EASTERN DISTRIC’I` OF VIRG[NIA

Alexandria Division
PATRICIA BUR.K.E, )
Plaintift`, l
_v. § Case No. l :16-cv-01256-GBL-JFA
ASHTON B. CA.`E{'I`]E`.R1 §
Defendant. §

ORDER

A Fed. R. Civ. P. l6(b) PRE'I`RIAL CONFERENCE will be held on Wednesday, March 8,
2017 at 11:00 a.m. before a magistrate judge.

The parties shall confer prior to this conference to consider the claims, defenscs, possibilities of a
prompt settlement or resolution of the case, trial before a magistrate judge, to arrange for the disclosures
required by Rule 26(a)(1), and develop a discovery plan which will complete discovery by Friday, July
7, 2017. A party may not exceed five (5) non-party, non expert witness depositions and may not serve on
any other party more than thirty (30) interrogatories including parts and subparts, without leave of the
court. Proposed discovery plans must be filed by the Wednesday one week before the Rule 16 (b)
pretrial conference

Any party required to tile an answer must do so within twenty (20) days.
The FINAL PRETRIAL CONFERENCE will be held on Thursday, Jnly 13, 2017 at 10:00 a.m.

The parties must electronically file on or before the final pretrial conference the Rule

26(a)(3) disclosures and a list of the exhibits to be used at trial, a list of the witnesses to be called at trial,
and a written stipulation of uncontested facts. The exhibits themselves or a copy should be exchanged
with opposing counsel before the conference Objections to exhibits must be filed within 10 days after
the conference; otherwise the exhibits shall stand admitted in evidence. The original exhibits shall be
delivered to the clerk as provided by Local Rule 79(A). Non-expert witnesses and exhibits not so
disclosed and listed will not be permitted at trial except for impeachment or rebuttal, and no person
may testify whose identity, being subject to disclosure or timely requested in discovery, was not
disclosed in time to be deposed or to permit the substance of his knowledge and opinions to be

ascertained. The trial of this case will be set for a day certain, within 4-8 weeks of the final pretrial
conference

Discovery may begin as of receipt of this Order.

PERSONAL IDENTIFIERS MUST BE REDACTED FROM ALL PUBLICLY FILED
PLEADINGS AND EXH[BITS lN ACCORDA.NCE WITH LOCAL RULE 7 (c).

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